                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

UNITED STATES OF AMERICA,           )
                                    )            DOCKET NO: 3:16-CR-221-2-MOC-DCK
     V.                             )
                                    )            ORDER
                                    )
DANIEL THOMAS BROYLES, SR.          )
___________________________________ )

       This matter is before the Court on its own Motion to administratively close the case as to

Daniel Thomas Broyles, Sr. The defendant appears to remain a fugitive with no activity taking

place in this case in recent times.

       It is, therefore, ORDERED that this case be deemed closed for administrative purposes

only, subject to re-opening upon the apprehension or appearance of the defendant.



                                        Signed: October 20, 2020




      Case 3:16-cr-00221-MOC-DCK Document 548 Filed 10/20/20 Page 1 of 1
